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                 EA'TERN DI'TRICT OF LOUI'IANA                         5f#s$0
                                                                   I : aq-   *j- ooo l3
                                                 DA    ,* of-                       <'-
MAG. Number, 34-l)            Complaint       arrant from Othcr District



Defendantl            a{ I                            ef


Violation:

                               ut<


U.t. Attorneyr                   e
                                  )       C-
Datc Asgigned:


lnfcrpretcr Needed? Yes

Sealedt                      @                No



                                                           I
Courf Date and Time:                                       I I : Jt: 4-.,)",,-, .




Beforc Magirfrafe Judge:                           i1-
